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6                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
7                                          AT TACOMA

8
     UNITED STATES OF AMERICA,
9
                              Plaintiff,                    No. 3:20-cv-6152
10
                     v.
11                                                          COMPLAINT
     ANN LYSE,
12

13                            Defendant.

14
            Plaintiff, the United States of America, by and through its undersigned attorneys, brings
15
     this complaint against Defendant ANN LYSE, and alleges the following:
16
                                           I. NATURE OF THIS ACTION
17
            1.       Starting as early as July 2019 and continuing to the present, Defendant has
18
     conducted financial transactions with large sums of illegally obtained money, knowing that her
19
     transactions are designed to conceal the nature, source, location, ownership, and control of
20
     proceeds. Defendant’s conduct includes knowingly receiving money obtained via fraud and
21
     then immediately transmitting the same money to accomplices. Defendant has transmitted
22
     money to and from accomplices in Jamaica and the United States.
23



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1            2.      The United States seeks to prevent continuing and substantial injury to the

2    United States and victims by bringing this action for a permanent injunction and other equitable

3    relief under 18 U.S.C. § 1345. The United States seeks to enjoin the ongoing commission of

4    banking law violations as defined in 18 U.S.C. § 3322(d), including money laundering in

5    violation of 18 U.S.C. § 1956(a)(1)(B), international money laundering in violation of 18

6    U.S.C. § 1956(a)(2)(B), and structuring cash transactions to evade transaction reporting

7    requirements in violation of 31 U.S.C. § 5324(a).

8                                   II. JURISDICTION AND VENUE

9            3.      This Court has jurisdiction over this action under 18 U.S.C. § 1345 and 28

10   U.S.C. §§ 1331 and 1345.

11           4.      The United States District Court for the Western District of Washington is a

12   proper venue for this action under 28 U.S.C. § 1391(b)(1) & (b)(2) because Defendant is a

13   resident of this District and because a substantial part of the events or omissions giving rise to

14   this Complaint occurred in this District.

15                                               III. PARTIES
16           5.      Plaintiff is the United States.
17           6.      Defendant Ann Lyse is a resident of this District, residing in Lacey,
18   Washington. In connection with the matters alleged herein, Defendant transacts and has
19   transacted business in this District.
20                                                IV. FACTS
21                            A. Defendant’s Ongoing Banking Law Violations
22           7.      Defendant conducts financial transactions to benefit one or more international

23   fraud schemes, knowing that the moneys she receives and transmits are obtained fraudulently,



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1    knowing that her transactions are designed to conceal the schemes, and structuring her cash

2    transactions in an effort to prevent the filing of required financial transaction reports.

3    Defendant receives financial compensation for this conduct, by transmitting to an accomplice

4    slightly smaller amounts than she receives and keeping the difference for herself.

5        (1) Money laundering and international money laundering

6           8.       Beginning at least as early as 2019, Defendant has knowingly and willingly

7    accepted tens of thousands of dollars from multiple sources and then transmitted most of that

8    money to accomplices.

9           9.       Defendant was reportedly contacted in June of 2019 from someone claiming to

10   be from Publisher’s Clearing House, stating that she had won a lottery prize but that she needed

11   to pay fees to collect her winnings. Defendant paid those purported fees. Shortly thereafter,

12   she received $10,000 in her bank account. She was instructed to send that money in order to

13   collect her winnings. She later learned that the $10,000 was in actuality a cash advance from

14   her credit card.

15          10.      Defendant also received Express Mail packages from multiple locations across

16   the United States, including Georgia, Maryland, Tennessee, California, and South Carolina.

17   These packages contained payments from victims of other fraud schemes. Defendant then

18   facilitated these schemes by depositing and transferring these payments, knowingly providing

19   accomplices in Jamaica and the United States access to her accounts to access these funds.

20          11.      Defendant suspected that the packages she received were part of a scam and

21   believed that at least some of the individuals with whom she was in contact with were

22   defrauding her. She nevertheless continued to facilitate these payments as instructed.

23          12.      On or about July 29 and July 30, 2019, Defendant entered three different Wells

     Fargo branches, where she maintained checking and savings accounts, at locations in Lacey,

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1    WA and Olympia, WA. She conducted five cash withdrawals in amounts ranging from $300 to

2    $5,000 for a total of $18,500. Wells Fargo reported a potential structuring of withdrawals to

3    avoid a currency transaction report (CTR).

4           13.      Between September and October 2019, Defendant made a series of cash and

5    check deposits at Bank of America, where she had accounts at that time totaling approximately

6    $46,143. Funds were removed from the account via cash withdrawals made in Washington

7    State, ATM locations in Jamaica, and online payments to Defendant’s credit card. Bank of

8    America reviewed login information to determine that the online account was predominately

9    accessed at locations in Jamaica. Bank of America subsequently closed Defendant’s account.

10          14.      Between March 2020 and May 2020, Defendant opened checking and savings

11   account with KeyBank. KeyBank monitored transactions through Peer-2-Peer (e.g. Zelle) and

12   online transactions originating from Jamaica. KeyBank questioned Defendant about these

13   activities and Defendant stated that she provided her account information to a friend in Jamaica

14   and they were going to make a deposit to her account. Multiple withdrawals were made, but

15   not completed due to non-sufficient funds. KeyBank closed Defendant’s accounts.

16          15.      In August 2019, Defendant opened accounts with Olympia Credit Union and

17   attempted to secure a $16,000 personal loan but was unable to do so because she refused to

18   provide an itemized list of debts.

19          16.      In July 2020, Defendant attempted to deposit a third-party check for

20   approximately $8,000 with Olympia Credit Union; the third party had no identifiable

21   relationship with Defendant. Olympia Credit Union refused to deposit the check after

22   Defendant explained the check was for fees to secure winnings from Publisher’s Clearing

23



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1    House. The next day, two checks attempted to clear Defendant’s account for a total of

2    approximately $11,400, but were returned as non-sufficient funds.

3           17.      On or about August 2, 2020, Defendant deposited $3,000 in cash at an Olympia

4    Credit Union ATM. Olympia Credit Union stated to Defendant that they were going to hold

5    the deposit for ten days based on the recent deposit history. Defendant stated she was

6    concerned that her contact with Publisher’s Clearing House will be upset because she had been

7    instructed to deposit the funds and then forward them to another contact in California.

8           18.      On or about August 6, 2020, Defendant deposited a $7,000 check from an out-

9    of-state third party; the third party had no identifiable relationship to Defendant. Olympia

10   Credit Union questioned Defendant about the suspicious nature of the funds but Defendant

11   insisted the bank deposit the funds. Olympia Credit Union verified and deposited the funds.

12   Defendant then withdrew $5,000 in cash.

13          19.      On or about August 7, 2020, Defendant attempted to deposit approximately

14   $6,000 in combined funds from multiple checks from multiple remitters. Olympia Credit

15   Union’s Fraud Department questioned Defendant. Defendant stated that she didn’t know who

16   the checks were from, but that she was told to deposit them and send the funds to third parties.

17   Olympia Credit Union repeated that it appeared Defendant was involved in a scam and refused

18   to accept the deposits.

19          20.      On or about September 19, 2020, Defendant attempted to deposit a $1,350

20   deposit from an out-of-state third party, who had not identifiable relationship with Defendant.

21   The out-of-state check was returned stop pay. Olympia Credit Union then closed Defendant’s

22   checking account based on the history of repeated returned check deposits.

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1        (2) Structuring

2           21.      Defendant engaged in conduct designed to cause domestic financial institutions

3    to fail to file a report required under 31 U.S.C. § 5313(a), and the regulations promulgated

4    thereunder. Defendant repeatedly caused and attempted to cause her cash withdrawals, and

5    those of her relative, to be structured in amounts designed to avoid this transaction reporting

6    requirement.

7           22.      For example, in July 2019, Wells Fargo Bank reported that Defendant withdrew

8    a total of $18,500 at three different branches, in five different transactions, in order to avoid a

9    transaction reporting requirement.

10          23.      For further example, between September and October 2019, Defendant made

11   numerous check deposits that totaled over $46,143, and additional cash deposits, in structured

12   amounts in order to avoid transaction reporting requirements.

13       B. Defendant’s Knowledge of Fraud; Intent to Conceal the Nature, Source, Location,
             Ownership, or Control of Proceeds; and Intent to Evade Transaction Reporting
14                                          Requirements

15          24.      On information and belief, Defendant has engaged in the financial transactions

16   alleged in Paragraphs 7 through 23 with the knowledge that the moneys she receives from and

17   transmits to accomplices are obtained by fraud schemes or other specified unlawful activity.

18          25.      On information and belief, Defendant has engaged in the financial transactions

19   alleged in Paragraphs 7 through 23 with the intent to conceal the nature, source, location,

20   ownership, or control of proceeds.

21          26.      On information and belief, Defendant has engaged in the financial transactions

22   alleged in Paragraphs 7 through 23 with the intent to evade transaction reporting requirements.

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1            27.     For example, Defendant received correspondence from the United States Postal

2    Service in May 2020 and September 2020 alerting her that she appeared to be receiving money

3    on behalf of a lottery fraud scheme. Nevertheless, Defendant continued to facilitate the

4    financial transactions despite these notifications.

5            28.     For further example, financial institutions alerted Defendant that her financial

6    transactions appeared to be suspicious and indicative of fraud. Multiple financial institutions

7    closed Defendant’s accounts because of this suspicious behavior. Nevertheless, Defendant

8    continued to open new accounts and facilitate the financial transactions with each new account.

9            29.     Defendant also stated multiple times that she was working with individuals

10   outside the United States, including in Jamaica, and sending and receiving money from these

11   individuals.

12                                       C. Harm to the United States

13           30.     The United States is suffering continuing and substantial injury from

14   Defendant’s banking law violations.

15           31.     Defendant is continuing to facilitate her banking law violations. Absent

16   injunctive relief by this Court, Defendant will continue to cause continuing and substantial

17   injury to the United States and victims.

18                                              COUNT I
                                  (18 U.S.C. § 1345 – Injunctive Relief)
19
             32.     The United States re-alleges and incorporates by reference Paragraphs 1 through
20
     31 of this Complaint as though fully set forth herein.
21
             33.     By reason of the conduct described herein, Defendant has committed, is
22
     committing, and is about to commit banking law violations as defined in 18 U.S.C. § 3322(d),
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     including money laundering with intent to conceal in violation of 18 U.S.C. § 1956(a)(1)(B)(i),


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1    money laundering with intent to evade transaction reporting requirements in violation of

2    18 U.S.C. § 1956(a)(1)(B)(ii), international money laundering with intent to conceal in

3    violation of 18 U.S.C. § 1956(a)(2)(B)(i), international money laundering with intent to evade

4    transaction reporting requirements in violation of 18 U.S.C. § 1956(a)(2)(B)(ii), and structuring

5    cash transactions to evade transaction reporting requirements in violation of 31 U.S.C. § 5324.

6              34.    Because Defendant is committing or about to commit banking law violations as

7    defined in 18 U.S.C. § 3322(d), the United States is entitled, under 18 U.S.C. § 1345, to seek a

8    permanent injunction restraining all future banking law violations and any other action that this

9    Court deems just to prevent a continuing and substantial injury to the United States.

10             35.    As a result of the foregoing, Defendant’s conduct should be enjoined pursuant to

11   18 U.S.C. § 1345.

12                                      VI. PRAYER FOR RELIEF

13             WHEREFORE, Plaintiff, United States of America, requests of the Court the following

14   relief:

15             A.     That the Court issue a permanent injunction, pursuant to 18 U.S.C. § 1345,

16   ordering that Defendant is restrained from engaging, participating, or assisting in money

17   laundering, international money laundering, structuring transactions to evade transaction

18   reporting requirements, and any money transmitting business; and

19             B.     That the Court order such other and further relief as the Court shall deem just

20   and proper.

21   //

22   //

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2          Respectfully submitted this 24th day of November, 2020.

3                                              BRIAN T. MORAN
                                               United States Attorney
4
                                               s/ Nickolas Bohl
5                                              NICKOLAS BOHL, WSBA #48978
                                               Assistant United States Attorney
6                                              United States Attorney’s Office
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9
                                               Counsel for United States of America
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  1                                      CERTIFICATE OF SERVICE

 2             The undersigned hereby certifies that she is an employee inthe Office of the United

 3    States   Attomey for the Western Distict of Washington and is the person of such age and

 4    discretion as to be competent to serve papers;

,-5            It is further certified that on this day, I mailed by United   States Postal Service said

 6    pleading to Defendant, addressed as follows:

 7             Ann Lyse
               4509 Montclair Dr SE
 8             Lacey, U/A 98503

 9             Dated this zhthday of Novemb er,2}20.

10


11                                                        ene Delo, Legal Assistant
                                                          ited States Attorney's Office
l2                                                     700 Stewart St., Ste. 5220
                                                       Seattle, WA 98101
13                                                     Phone : 253-428-3800
                                                       Far: 253-428-3826
14                                                     E-mail : j ulene.delo@usdoj . gov

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